Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 1 of 9

ADDENDUM

Subject Attorneys' Comments and/or Objections to
the Report Pursuant to the Court's Order, dated
February 8, 2012

Exhibit 6

WILLIAM M. WELCH III
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 2 of 9

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

IN RE SPECIAL PROCEEDINGS Misc. No. 09-00198 (EGS)

 

COMMENTS OF WILLIAM M. WELCH II
IN RESPONSE TO REPORT TO THE HONORABLE EMMET G. SULLIVAN OF INVESTIGATION
CONDUCTED PURSUANT TO THE COURT’S ORDER, DATED APRIL 7, 2009

William M. Welch II, through his undersigned counsel and pursuant to the
Court’s February 8, 2012 order (the “Order”) in this matter, hereby submits the following
comments to be filed, on March 15, 2012, as an addendum to the Report to the Honorable
Emmet G, Sullivan of Investigation conducted pursuant to the Court’s April 7, 2009 order (the
“Report”),

As to Mr. Welch, the Report found the following:

Since the Office of the [Assistant Attorney General of the Criminal
Division] also actively managed the conduct of the prosecution in
matters ranging from review and approval of pleadings, opening
statements and closing arguments and witness examination
assignments to the seating of government counsel in the
courtroom, Mr. Welch perceived himself effectively to have been
eliminated from the “chain of command.” Moreover, since his
principal deputy was now fully otherwise occupied, the
supervision of the balance of the Public Integrity Section’s docket
fell to him. The net result was that Mr. Welch directly supervised
the conduct of the prosecution only when discrete matters were
brought to his attention after controversies arose. To his credit, on
each occasion that Brady/Giglio disclosure issues were brought to
him for decision, he directed that disclosure be made.

(Report at 506-07.) Examples of the occasions on which Mr. Welch directed disclosure or made

the disclosure himself when Brady/Giglio issues were presented to him included the following:
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 3 of 9

e September 8, 2008, when Mr. Welch directed the disclosure of a prosecutor’s
notes of an interview with Bambi Tyree in 2004 (Report at 325); and

e October 16, 2008, when Mr. Welch provided an Anchorage Police

Department file that included an FBI 302 of Tyree’s 2004 interview, to the
defense (Report at 322, 344-46),

As noted in the Report, the then-Acting Assistant Attorney General and then-
Principal Deputy for the Criminal Division (“the Front Office”) exercised an unusual degree of
supervision over the Stevens prosecution. In addition to the examples of micro-management
cited in the section of the Report quoted above, the Front Office’s decision to add the Principal
Deputy of Public Integrity as the lead prosecutor on the Stevens team just days before the
indictment despite Mr. Welch’s objections, the degree of direct communication that the lead
prosecutor had with the Front Office, and the pre-trial decision -- made without consulting
Mr. Welch -- not to produce 302s as possible Jencks material support the Report’s conclusion
that Mr. Welch’s position in the chain of command was at times undermined. (Report at 4, 506;
Welch Dep., Feb. 5, 2010 at 277-80.)

Notwithstanding the degree to which the traditional chain of command was
altered, in the weeks prior to the Stevens indictment and throughout the trial, Mr. Welch spoke
with members of the prosecution team about discovery and encouraged them to avoid discovery
disputes. Those occasions included the following:

e in July 2008, prior to the Stevens indictment, when Mr. Welch was told on

more than one occasion that discovery was ready to be produced (Report at
49);

e on July 17, 2008, when Mr. Welch asked a member of the prosecution team to
produce the FBI 302s of a key witness’s interviews to test the team’s
discovery readiness and, about one hour later, received a disk that purportedly
contained all of the 302s for that witness (Report at 49);

e on August 1, 2008, after learning that FB] 302s would not be produced as

possible Jencks material, when Mr, Welch cautioned a senior member of the
prosecution team that the government should not be “viewed as holding

~
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 4 of 9

anything back,” particularly in such a prominent case (Deposition of William
Welch in /n Re Special Proceedings (‘“Welch Dep.”), Jan. 13, 2010 at 110,
166);

e in August and September 2008, when Mr. Welch received assurances on more
than one occasion from a senior member of the prosecution team that the team
had everything under control and, consistent with those statements, Mr. Welch
observed that the prosecution team was meeting its deadlines, had been
scheduling and interviewing potential trial witnesses, and appeared to be on
track for the start of trial (Welch. Dep., Feb. 5, 2010 at 355);

e in late August and September 2008, when Mr. Welch spoke with members of
the prosecution team individually and collectively about discovery and
encouraged them to engage in liberal discovery, including for example,
production of photographic metadata, Title III surveillance logs, and grand
jury testimony of particular witnesses (Welch Dep., Jan. 13, 2010 at 111-12,
151);

e in September 2008, when Mr. Welch believed that the prosecution team had
been adhering to, and would continue to adhere to, its Brady/Giglio
obligations, based upon the guidance offered by Mr. Welch, oral
representations made to him, written representations made in discovery
motions filed in the Stevens case, and representations made in open court that
discovery provided had been “generous” and the prosecution team understood
its Brady obligations under Safavian (Welch Dep., Jan. 13, 2010 at 151, 166;
Welch Dep., Feb. 5, 2010 at 366); and

e on October 1, 2008, when members of the prosecution team consulted
Mr. Welch about previously undisclosed information in a FBI 302 that had
been produced in redacted form (“the Pluta 302”), Mr. Welch reviewed the

information and told the team that it was Brady material that needed to be
produced to the defense (Welch Dep., Jan. 13, 2010 at 118).

Mr. Welch’s practice throughout his career has been and continues to be to
provide defendants with the fullest possible discovery, beyond constitutional requirements,
whenever consistent with preservation of the government’s legitimate interests, When discovery
issues that Mr. Welch believed at the time were isolated in nature were presented to him during
the Stevens case, Mr. Welch’s guidance was consistent with his longstanding practice.

In addition, on March 27, 2009, Mr. Welch learned for the first time about notes

and emails relating to two previously undisclosed interviews in April 2008 with Bill Allen, a key

te
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 5 of 9

witness, (Report at 453.) Upon reviewing the notes and emails, Mr. Welch immediately
concluded that the materials contained Brady information that should have been disclosed, and
he told the then-Acting Assistant Attorney General of the Criminal Division (“AAG”) that DOJ
should consider dismissing the indictment. On March 31, 2009, when Mr. Welch learned that
the Attorney General had decided to dismiss the indictment with prejudice and was asked by the
AAG for his position on that decision, Mr. Welch voiced his support for that decision on two
separate occasions,

The official record of this matter should also include a brief word about
Mr, Welch’s career with the U.S. Department of Justice. Mr. Welch joined the Justice
Department through the Honors Program in September 1989. He has spent his entire career as a
lawyer at the Department. At the time of the Stevens prosecution, Mr. Welch had been a
prosecutor for nineteen years and had received numerous awards, including but not limited to the
Superior Performance Award as an Assistant United States Attorney in 1994, 2001, and 2006.
Mr. Welch’s successful stewardship of the Department’s Public Integrity Section included
supervision of approximately 30 federal prosecutors handling some of the Department’s most
sensitive and important cases, such as the continuing Abramoff probe that netted twenty guilty
pleas and verdicts, the indictment and eventual guilty plea of former United States District Judge
Samuel Kent, the Department’s cooperation in the eventual impeachment of former United
States District Judge Thomas Porteous, and oversight of one of the most successful presidential
elections from an elections crime and fraud perspective.

Mr. Welch supports the public release of the Report, which will ensure that the
public record in this matter is complete and accurate with regard to the Report’s findings and

conclusions as to Mr. Welch. Finally, in addition to cooperating fully with the court-ordered
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 6 of 9

investigation culminating in the Report, Mr. Welch also cooperated fully with an investigation
by the U.S. Department of Justice’s Office of Responsibility (“OPR”) into allegations of
misconduct in the prosecution of United States vy. Stevens, Crim. No. 08-231 (D.D.C.)(EGS). By
letter dated August 16, 2011, OPR notified Mr. Welch of its conclusion that he did not commit
professional misconduct or exercise poor judgment in the Stevens matter. See Exhibit A.

Mr. Welch also supports and looks forward to the release of OPR’s investigative report, so that
the details supporting OPR’s conclusion also become part of the public record.

Respectfully submitted,

Merton to Toon (ae)

William W. Taylor III (D.C. Bar No. 84194)
ZUCKERMAN SPAEDER LLP

1800 M Street, N.W.

Washington, D.C. 20036

Phone: (202) 778-1800

Fax: (202) 822-8106

Email: wwtaylor@zuckerman.com

tm ww Or

Mark H. Lynch (D.C. Bar No. 193110)

Simone E, Ross (D.C, Bar No. 442149)

COVINGTON & BURLING LLP

1201 Pennsylvania Avenue, N.W.

Washington, D.C. 20004

Phone: (202) 662-5544

Fax: (202) 778-5544

Email: mlynch@cov.com
sross@cov.com

 

 

Date: March 8, 2012 Counsel for William M. Welch IT
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 7 of 9

EXHIBIT A
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 8 of 9

U.S, Department of Justice
Office of Professional Responsibility

 

950 Pennsylvania Ave. N.W. Room 3266
Washington, D.C. 20530

 

ANG 16 201]
CONFIDE L

Simone E, Ross

Covington & Burling LLP
1201 Pennsylvania Ave,, N.W.
Washington, D.C, 20004-2401

Dear Ms, Ross:

The Office of Professional Responsibility has completed its investigation into allegations of
professional misconduct by Department of Justice attorneys, including your client, William M.
Welch II, in the prosecution of United States v. Theodore F. Stevens, Crim. No. 08-231
(D.D.C.)(EGS). Based upon the results of our investigation, we concluded that Mr. Welch did not
commit professional misconduct or exercise poor judgment in the matter.

If you require further information concerning the results of our investigation, please contact
Criminal Division Assistant Attorney General Lanny A. Breuer.

Thank you for your cooperation with our investigation.

Sincerely,

Kegranarns @. hrley

Raymond C. (Neil) Hurley
Acting Counsel for this matter

cc: Lanny A, Breuer
Assistant Attorney General
Criminal Division
Case 1:09-mc-00198-EGS Document 84-7 Filed 03/15/12 Page 9 of 9

CERTIFICATE OF SERVICE

 

I hereby certify that on March 8, 2012, I caused the original, four paper copies,
and one electronic copy of the foregoing Comments to be delivered by hand to
Henry F. Schuelke III, Esq. and William B. Shields, Esq., at the following:

Henry F, Schuelke III, Esq.
William B. Shields, Esq.
Janis, Schuelke & Wechsler
1728 Massachusetts Avenue, N.W.
Washington, D.C. 20036
hfschuelke@janisschuelke.com
wbshields@janisschuelke.com

Rimone E. Ross |
